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                                           April 18, 2024


Via CM/ECF
Ms. Molly Dwyer
Clerk of Court
United States Court of Appeals for the Ninth Circuit
Post Office Box 193939
San Francisco, CA 94119

       RE: Helen Doe et al. v. Thomas C. Horne et al., No. 23-16026

Dear Ms. Dwyer,

       Appellants President Petersen, Speaker Toma, and Superintendent Horne provide this
response to Plaintiffs-Appellees’ Rule 28(j) letter regarding B.P.J. by Jackson v. West Virginia State
Board of Education, 23-1078 & 23-1130, 2024 WL 1627008 (4th Cir. Apr. 16, 2024).

       First, while the Fourth Circuit concluded that West Virginia’s Save Women’s Sports Act
was subject to intermediate scrutiny, see id. at *7, it did not find the law constitutionally infirm.
Instead, it concluded there was a material dispute about whether biological boys on puberty
blockers still “enjoy a meaningful competitive athletic advantage over cisgender girls[.]” Id. at
*10. Here, Appellants provided overwhelming evidence that they do. See Br. Appellants 51–59;
Appellants’ Reply 18–25.

        So while B.P.J.’s standard-of-review and analytical standard conclusions, see 2024 WL
1627008, at *5–*8, erroneously ignore key cases—including binding precedent, see Br. Appellants
26–50—its scrutiny analysis comports with the observation in Hecox v. Little, 79 F.4th 1009, 1038
(9th Cir. 2023), that “the science and regulatory framework surrounding issues of transgender
women’s participation in female-designated sports is rapidly evolving.” Indeed, that B.P.J. does
not cite Hecox underscores the “extraordinarily fact-bound” nature of the analysis, id. at 1039, and
the limited relevance of B.P.J.

        Second, the Fourth Circuit held the West Virginia law violated Title IX. B.P.J., 2024 WL
1627008, at *11. Here, however, Appellants raised the Spending Clause argument, see Br.
Appellants 66; Appellants’ Reply 30, that was not made in B.P.J., 2024 WL 1627008, at *13 n.3.
And as Judge Agee noted in his dissent, to find that Arizona “violated Title IX by enacting a policy
that unremarkably separates its sports teams by biological sex . . . runs afoul of the . . . Spending
Clause.” Id. at 21. Regardless, the B.P.J. majority’s dismissal of contrary interpretative arguments
by relying on “expected applications” of the law instead of its text, id. at *13 (quotations omitted),
misses that every indicium of meaning—including dictionary definitions and statutory context—
cuts against their reading, see, e.g., Br. Appellants 61–66.
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      B.P.J. is distinguished and thus should not be followed.

                                                   Sincerely,

                                                   JAMES OTIS LAW GROUP, LLC

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